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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:
                                                        Chapter 11
OPP LIQUIDATING COMPANY, INC. (f/k/a
Orchids Paper Products Company), et al.,1               Case No. 19-10729 (MFW)

                 Debtors.                               Jointly Administered


                   NOTICE OF AGENDA OF MATTERS SCHEDULED
                 FOR HEARING ON JANUARY 21, 2020 AT 10:30 A.M. (ET)

MATTER GOING FORWARD

1.       Confirmation of Chapter 11 Plan of Liquidation

         Objection Deadline:              December 2, 2019 at 4:00 p.m.

         Related Document(s):

                 a)      Combined Disclosure Statement and Chapter 11 Plan of Liquidation of
                         Orchids Paper Products Company, et al. [Docket No. 538; Filed:
                         9/27/2019]

                 b)      First Amended Combined Disclosure Statement and Chapter 11 Plan of
                         Liquidation of Orchids Paper Products Company, et al. [Docket No. 557;
                         Filed: 10/15/2019]

                 c)      [BLACKLINE] First Amended Combined Disclosure Statement and
                         Chapter 11 Plan of Liquidation of Orchids Paper Products Company, et al.
                         [Docket No. 558; Filed: 10/15/2019]

                 d)      Second Amended Combined Disclosure Statement and Chapter 11 Plan of
                         Liquidation of Orchids Paper Products Company, et al. [Docket No. 574;
                         Filed: 10/18/2019]

                 e)      [BLACKLINE] Second Amended Combined Disclosure Statement and
                         Chapter 11 Plan of Liquidation of Orchids Paper Products Company, et al.
                         [Docket No. 575; Filed: 10/18/2019]


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            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are OPP Liquidating Company, Inc., a Delaware corporation (6944) (f/k/a Orchids Paper
Products Company), OPP Liquidating Company of South Carolina, Inc., a Delaware corporation (7198) (f/k/a
Orchids Paper Products Company of South Carolina), and OLSC Liquidating Company, LLC, a South Carolina
limited liability company (7298) (f/k/a Orchids Lessor SC, LLC).



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             f)    Order (I) Approving the Adequacy of the Disclosures in the Second
                   Amended Combined Plan and Disclosure Statement on an Interim Basis,
                   (II) Scheduling the Confirmation Hearing and Deadline for Filing
                   Objections, (III) Establishing Procedures for The Solicitation and
                   Tabulation of Votes to Accept or Reject the Second Amended Combined
                   Plan and Disclosure Statement, (IV) Approving the Form of Ballot and
                   Solicitation Package, and (V) Approving the Notice Provisions [Docket
                   No. 577; Entered: 10/18/2019]

             g)    Notice of Filing of Plan Supplement [Docket No. 612; Filed: 11/18/2019]

             h)    Declaration of James F. Daloia of Prime Clerk LLC Regarding the
                   Solicitation of Votes and Tabulation of Ballots Cast on the Second
                   Amended Plan of Liquidation of Orchids Paper Products Company and Its
                   Affiliated Debtors [Docket No. 630; Filed: 12/6/2019]

             i)    Third Amended Combined Disclosure Statement and Chapter 11 Plan of
                   Liquidation of Orchids Paper Products Company, et al. [Docket No. 631;
                   Filed: 12/6/2019]

             j)    [Blackline] Third Amended Combined Disclosure Statement and Chapter
                   11 Plan of Liquidation of Orchids Paper Products Company, et al. [Docket
                   No. 632; Filed: 12/6/2019]

             k)    Declaration of Richard S. Infantino, Interim Chief Strategy Officer of
                   Orchids Paper Products Company, in Support of Confirmation of the
                   Combined Disclosure Statement and Chapter 11 Plan of Liquidation of
                   Orchids Paper Products Company, et al. [Docket No. 633; Filed:
                   12/6/2019]

             l)    Debtors’ Memorandum of Law in Support of Entry of an Order
                   Confirming the Third Amended Combined Disclosure Statement and
                   Chapter 11 Plan of Liquidation of Orchids Paper Products Company, et al.
                   [Docket No. 634; Filed: 12/6/2019]

             m)    Notice of Filing of Proposed Findings of Fact, Conclusions of Law, and
                   Order Confirming the Combined Disclosure Statement and Chapter 11
                   Plan of Orchids Paper Products Company, et al. [Docket No. 635; Filed:
                   12/6/2019]

             n)    Declaration of Alex Orchowski of Prime Clerk LLC Regarding the
                   Solicitation of Votes and Tabulation of Ballots Cast on the Second
                   Amended Plan of Liquidation of Orchids Paper Products Company, et al.
                   [Docket No. 671; Filed: 1/15/2020]




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         Response(s) Received:

                   a)   Objection of the Securities and Exchange Commission to Interim
                        Approval of the Disclosure in the Combined Chapter 11 Plan of
                        Liquidation and Disclosure Statement of Orchids Paper Products
                        Company, et al. [Docket No. 546; Filed: 10/9/2019]

                   b)   Objection of the United States Trustee to Motion of Debtors for an Order
                        (I) Approving the Adequacy of the Disclosures in the Combined Plan and
                        Disclosure Statement on an Interim Basis, (II) Scheduling the
                        Confirmation hearing and Deadline for Filing Objections, (III)
                        Establishing Procedures for the Solicitation and Tabulation of Votes to
                        Accept or Reject the Combined Plan and Disclosure Statement, (IV)
                        Approving the Form of Ballot and Solicitation Package, and (V)
                        Approving the Notice Provisions [Docket No. 547; Filed: 10/9/2019]

                   c)   Objection of the Official Committee of Unsecured Creditors to the
                        Debtors’ Motion for an Order (I) Approving the Adequacy of the
                        Disclosures in the Combined Plan and Disclosure Statement on an Interim
                        Basis, (II) Scheduling the Confirmation Hearing and Deadline for Filing
                        Objections, (III) Establishing Procedures for the Solicitation and
                        Tabulation of Votes to Accept or Reject the Combined Plan and
                        Disclosure Statement, (IV) Approving the Form of Ballot and Solicitation
                        Package, and (V) Approving the Notice Provisions [Docket No. 555;
                        Filed: 10/11/2019]

                   d)   Debtors’ Omnibus Reply to Objections to the Debtors’ Motion for Entry of
                        an Order Granting Interim Approval of Their Disclosure Statement and
                        Approving Related Solicitation Procedures [Docket No. 563; Filed:
                        10/15/2019]

         Status:        The Debtors are working with the Official Committee of Unsecured
                        Creditors to revise the applicable plan documents. The Debtors intend to
                        file revised documents in advance of the hearing. This matter will go
                        forward.

Dated: January 16, 2020                      Respectfully submitted,
       Wilmington, Delaware
                                             POLSINELLI PC

                                              /s/ Shanti M. Katona
                                             Christopher A. Ward (Del. Bar No. 3877)
                                             Shanti M. Katona (Del. Bar No. 5352)
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                                    -and-

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                                    Counsel to the Debtors and
                                    Debtors in Possession




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